case 1: 8¥P8ddH ike _Document.105-9__Filed_02/13/23_Page 1 of 1 PagelD #:.653

mo &

know
Monday, September 11, 2017

‘ 2 DAA
US FIVI

Only request was to take option #2 with either one of two variations
b/c of all the people we have to pay.

not sure what you mean, option #2, the $15m, and the 492k in

BE correct?

4.\c DAA
UO FIVI

one second please

4.4 fF, PAA
10 PM

b/c we have so many people to pay i am “requesting” either moving
the ether to $16 million or moving the tokens to 750 million.

again, this is a goodwill request.

we are moving forward in either way

i q | PM

ok - and then confirming alchemist still covering the hub sales out of
your pot?

1:11 PM

that;’s confusing
the spreadsheet is what you are covering.

call me

ot
